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                          IN THE UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF DELAWARE

                                                            )
    In re:                                                  )     Chapter 11
                                                            )
    BLACKHAWK MINING LLC, et al.,1                          )     Case No. 19-11595 (LSS)
                                                            )
                              Debtors.                      )     (Jointly Administered)
                                                            )

                    DECLARATION OF JAMES DALOIA OF
            PRIME CLERK LLC REGARDING CLASS 3 AND CLASS 4
          VOTING RESULTS WITH RESPECT TO THE DEBTORS’ FIRST
     AMENDED JOINT PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION

I, James Daloia, declare, under the penalty of perjury:

             1.     I am the Director of Solicitation and Public Securities at Prime Clerk LLC

(“Prime Clerk”), located at One Grand Central Place, 60 East 42nd Street, Suite 1440, New York,

New York 10165. I am over the age of eighteen years and not a party to the above-captioned

action. Unless otherwise noted, I have personal knowledge of the facts set forth herein.

             2.    I submit this declaration regarding the voting results for Class 3

(First Lien Term Loan Claims) and Class 4 (Second Lien Term Loan Claims) with respect to the

Debtors’ First Amended Joint Prepackaged Chapter 11 Plan of Reorganization, dated

October 2, 2019 [Docket No. 278] (as may be amended, supplemented, or modified from time




1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number include: Blackhawk Mining LLC (5600); Blackhawk Coal Sales, LLC (9456); Blackhawk Land and
       Resources, LLC (7839); Blackhawk River Logistics, LLC (3388); Blue Creek Mining, LLC (2427); Blue
       Diamond Mining, LLC (3488); Eagle Shield, LLC (6721); FCDC Coal, Inc. (6188); Guyandotte Mining, LLC
       (4882); Hampden Coal, LLC (8241); Kanawha Eagle Mining, LLC (0586); Logan & Kanawha, LLC (3178);
       Panther Creek Mining, LLC (0627); Pine Branch Land, LLC (9661); Pine Branch Mining, LLC (9681); Pine
       Branch Resources, LLC (9758); Redhawk Mining, LLC (0852); Rockwell Mining, LLC (3874); Spruce Pine
       Land Company (2254); Spurlock Mining, LLC (2899); Triad Mining, LLC (7713); and Triad Trucking, LLC
       (6112). The location of the Debtors’ service address in these chapter 11 cases is 3228 Summit Square Place,
       Suite 180, Lexington, Kentucky 40509.
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 to time, the “Amended Plan”).2 Except as otherwise noted, all facts set forth herein are based on

 my personal knowledge, knowledge that I acquired from individuals under my supervision, and/or

 my review of the relevant documents. I am authorized to submit this declaration on behalf of

 Prime Clerk. If I were called to testify, I could and would testify competently as to the facts set

 forth herein.

       3.         This Court authorized Prime Clerk’s retention as the (a) claims and noticing agent

to the above-captioned debtors and debtors in possession (collectively, the “Debtors”) pursuant to

the Order Authorizing Retention and Appointment of Prime Clerk LLC as Claims and

Noticing Agent, dated July 22, 2019 [Docket No. 59], and (b) administrative advisor pursuant to the

Order Authorizing Employment and Retention of Prime Clerk LLC as Administrative

Advisor Nunc Pro Tunc to the Petition Date, dated August 9, 2019 [Docket No. 163]

(collectively, the “Retention Orders”). The Retention Orders authorize Prime Clerk to assist the

Debtors with, among other things, the service of notice and voting materials and tabulation of votes

with respect to the Amended Plan. Prime Clerk and its employees have considerable experience in

soliciting and tabulating votes to accept or reject chapter 11 plans.

            Service and Transmittal of Vote Modification Materials and Tabulation Process

       4.         The procedures adhered to by Prime Clerk with respect to the vote modification

process and the tabulation of votes are outlined in (a) the Debtors’ Motion for Entry of an

Order (A) Approving the Debtors’ First Amended Joint Prepackaged Chapter 11 Plan of

Reorganization, (B) Approving the Form of Notice and Schedule of Dates and Deadlines Relating

Thereto, and (C) Granting Related Relief [Docket No. 281], (b) the order granting such motion

[Docket No. 295] (the “Modification Order”), and (c) the vote modification materials distributed to


 2
     All capitalized terms used but not defined herein have the meanings ascribed to them in the Amended Plan.


                                                         2
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holders of Class 3 Claims and Class 4 Claims (collectively, the “Vote Modification Procedures”). I

supervised the service and transmittal performed by Prime Clerk’s employees.

         5.     The Modification Order established October 7, 2019, as the record date

 (the “Vote Modification Record Date”) for determining which holders of Class 3 Claims and

 Class 4 Claims were entitled to change their prior vote on the Debtors’ Modified Joint

 Prepackaged Chapter 11 Plan of Reorganization [Docket No. 231] (the “Plan”) with respect to

 such Claims in relation to the Amended Plan. Pursuant to the Amended Plan and the Modification

 Order, only holders with a claim in the following classes as of the Vote Modification Record Date

 were entitled to change their prior vote on the Plan with respect to such claims in relation to the

 Amended Plan (the “Vote Modification Classes”):

                    Plan Class                     Class Description
                         3                    First Lien Term Loan Claims
                         4                  Second Lien Term Loan Claims

       6.       In accordance with the Vote Modification Procedures, Prime Clerk worked closely

with the Debtors and their advisors to identify the holders of claims in the Vote Modification Classes

as of the Vote Modification Record Date, and to coordinate the distribution of vote modification

materials to these holders. A detailed description of Prime Clerk’s distribution of such materials is

set forth in Prime Clerk’s Affidavit of Service [Docket No. 302].

       7.       To be included in the tabulation results as valid, a vote modification form must have

been (a) properly completed pursuant to the Vote Modification Procedures, (b) executed by the

relevant holder entitled to change its prior vote on the Plan in relation to the Amended Plan

(or such holder’s authorized representative), (c) returned to Prime Clerk via an approved method of

delivery set forth in the Vote Modification Procedures, and (d) received by Prime Clerk by 4:00 p.m.

(prevailing Eastern Time) on October 18, 2019 (the “Vote Modification Deadline”).

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